Case 2:22-cv-00193-RBS-DEM Document 58 Filed 01/16/24 Page 1 of 3 PageID# 742




                                 UNITED       STATES    DISTRICT     COURT
                                 EASTERN DISTRICT          OF VIRGINIA
                                             Norfolk Division




 BRENDA JOHNSON,

                            Plaintiff,

 V.                                                                    CIVIL NO.       2:22cvl93


 NORFOLK STATE UNIVERSITY,

                            Defendant.


                                                  ORDER


         This matter comes before                 the   court on     Defendant Norfolk State


 University's             Motion       for    Sanctions     and      Brief    in    Support.       ECF


 Nos.    35,       36.    The matter was referred to a United States Magistrate

 Judge by Order of October 5, 2023, pursuant to the provisions of 28

 U.S.C.       §    636(b)(1)(B)        and Federal       Rule   of    Civil    Procedure       72(b),

 to conduct hearings,               including evidentiary hearings, if necessary.

 and    to     submit       to   the   undersigned proposed            findings       of   fact.    if


 applicable, and recommendations for the disposition of the Motion.

 ECF    No.       54.


         The            United      States       Magistrate           Judge's         Report       and

 Recommendation was                filed on      December 12,        2023,    recommending that

 the court grant Defendant's Motion for Sanctions,                              and

         that       the    Court   fix    a   schedule    for   Defendant      to   submit
         an itemized request for the reasonable attorney's fees
         NSU incurred in completing the briefing on its Motion
         for Summary Judgment, after providing its safe harbor
         notice.          Plaintiff      should thereafter be          directed       to   file
         a brief within 14 days of Defendant's filing addressing
Case 2:22-cv-00193-RBS-DEM Document 58 Filed 01/16/24 Page 2 of 3 PageID# 743




         the       reasonableness            any other basis to
                                                   of    the    fees,          or

         avoid or determine the appropriate monetary sanction.

 ECF    No.    56   at     14.


         By copy           of    the    Report           and Recommendation of the                            Magistrate

 Judge,       the    parties           were         advised         of    their        right       to    file    written

 objections thereto.                   Id. at 15. The court has received no objections

 to the Magistrate Judge's Report and Recommendation,                                                    and the time

 for    filing       same        has    expired.           Accordingly,                the    court       does    hereby

 ADOPT    AND       APPROVE          IN FULL             the    findings             and    recommendations            set

 forth        in    the     Report           and        Recommendation                of     the        United    States

 Magistrate          Judge           filed          December             12,        2023.     The       court     GRANTS

 Defendant's Motion for Sanctions,                                  ECF No.          35;    DIRECTS Defendant to


 submit,       within thirty                 (30)       days of this Order,                  an itemized request

 for the reasonable attorney's                             fees NSU incurred in completing the

 briefing on its Motion                       for        Summary Judgment,                  after providing            its

 safe    harbor      notice;           and DIRECTS Plaintiff                         to     file a brief,         within

 fourteen           (14)        days          of        Defendant's                 filing,        addressing          the

 reasonableness                 of     the     fees,           or    any        other       basis        to    avoid    or

 determine the appropriate monetary sanction.^




         ^ Defendant's Motion                       for Sanctions also sought dismissal of
 the    action with prejudice.                          ECF No.          36 at 8.          However,       that remedy
 is unnecessary because the court issued a Final Order granting
 Defendant's Motion for Summary Judgment and dismissing Plaintiff's
Amended Complaint with prejudice.                                   ECF No.          57.

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Case 2:22-cv-00193-RBS-DEM Document 58 Filed 01/16/24 Page 3 of 3 PageID# 744




      The Clerk is DIRECTED to send a copy of this Order to counsel

 for all parties.

       IT   IS   SO   ORDERED.




                                              Rebecca Beach Smith
                                              Senior United States District Judge
                                             REBECCA    BEACH     SMITH
                                  SENIOR   UNITED   STATES     DISTRICT      JUDGE


 January         1(3, 2024




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